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                                                           Disability Rights Oregon
                                                         DRO v. Mink Attorneys' Fees
                                                                                                                Time
Time Employee Time Date of
                                                              Time Entry Note                                 Amount     Rate     Amount
  (Last, First) Time Entry
                                                                                                              in Hours
Boyer, David     11/6/2024 Meeting w expert and all plaintiffs                                                       1   $625       $625.00
Boyer, David    11/12/2024 Review of D's proposal                                                                  1.5   $625       $937.50
Boyer, David    11/18/2024 Final prep and attendance at status hearing.                                              4   $625     $2,500.00
Boyer, David    11/18/2024 Post hearing debrief w all parties                                                        1   $625       $625.00
Boyer, David    11/20/2024 Call with Dr. Pinels                                                                    0.3   $625       $187.50
Boyer, David    11/27/2024 All parties meeeting with Dr. Pinals to discuss compliance                                1   $625       $625.00
Boyer, David     12/4/2024 All parties w Dr. Pinals                                                                  1   $625       $625.00
Boyer, David     12/9/2024 Drafted motion to extend remed order, sent to all plaintiffs                              1   $625       $625.00
Boyer, David     12/6/2024 Meeting with plaintiffs/Dr. Pinels                                                        1   $625       $625.00
Boyer, David    12/11/2024 Finalized draft motion to extend; circulated                                            1.5   $625       $937.50
Boyer, David    12/12/2024 Call and f/u with Dr. Pinals                                                              1   $625       $625.00
Boyer, David    12/17/2024 DRO meeting with Dr. Pinals                                                               1   $625       $625.00
Boyer, David    12/17/2024 Internal debrief after meeting with Dr. Pinals                                            1   $625       $625.00
Boyer, David    12/20/2024 Drafted mediation statement, sent to Emily                                                1   $625       $625.00
Boyer, David    12/20/2024 Email to atty re: possible client statement in support of contempt motion               0.3   $625       $187.50
Boyer, David    12/30/2024 Prep for mediation                                                                        3   $625     $1,875.00
Boyer, David      1/2/2025 Mediation                                                                                 3   $625     $1,875.00
Boyer, David      1/2/2025 Review of contempt motion                                                                 2   $625     $1,250.00
Boyer, David      1/3/2025 Review of mink docket/orders/contempt motion                                              2   $625     $1,250.00
Boyer, David      1/7/2025 Review of filed documents, circulated to team                                             1   $625       $625.00
Boyer, David     1/22/2025 Meeting to prep for contempt hearing                                                      1   $625       $625.00
Boyer, David     1/22/2025 Prepared skeleton outline of proof document                                             0.5   $625       $312.50
Boyer, David     1/22/2025 researched possible responses to Judge's questions for status hearing                     1   $625       $625.00
Boyer, David     1/24/2025 Prep for and attended status conference                                                   4   $625     $2,500.00
Boyer, David      2/4/2025 Team meeting                                                                            1.1   $625       $687.50
Boyer, David      2/4/2025 Follow ups after meeting                                                                  1   $625       $625.00
Boyer, David     2/13/2025 Team meeting                                                                              1   $625       $625.00
Boyer, David     2/25/2025 Team meeting                                                                            0.8   $625       $500.00



                                                                                                                           Cooper Decl Ex. E
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Boyer, David      3/3/2025 Review of defendant's progress report                                                  0.5   $625      $312.50
Boyer, David      3/4/2025 Helped Hanah prep for opening                                                          0.5   $625      $312.50
Boyer, David      3/7/2025 Review of latest dashboard                                                             0.5   $625      $312.50
Boyer, David      3/7/2025 Moot for opening argument                                                                1   $625      $625.00
Boyer, David     3/10/2025 Moot for opening                                                                       0.5   $625      $312.50
Boyer, David     3/10/2025 Prep for contempt hearing                                                                2   $625    $1,250.00
Boyer, David     3/12/2025 Prep and attendance at Mink contempt hearing                                             7   $625    $4,375.00
Boyer, David     3/13/2025 Attended closing                                                                         2   $625    $1,250.00
Boyer, David     4/24/2025 Pleadings to Hanah for atty fee petition                                                 1   $625      $625.00
Boyer, David     4/29/2025 created report for fees                                                                0.8   $625      $500.00
                                                                                            Boyer Subtotal:      53.8          $33,625.00

Cooper, Emily   11/18/2024 Prep and attend hearing                                                                1.9   $650    $1,235.00
                           Drafted table of outstanding recommendations (1.9) and communicated with expert
Cooper, Emily   11/20/2024 (.6)                                                                                   2.5   $650    $1,625.00
Cooper, Emily    12/6/2024 Call with neutral re contempt                                                          0.9   $650      $585.00
Cooper, Emily   12/16/2024 call with contempt expert                                                              0.8   $650      $520.00
Cooper, Emily   12/20/2024 Research (1.4), talk internally (.5) and draft (1.2) contempt brief.                   3.1   $650    $2,015.00
Cooper, Emily   12/24/2024 Research, write contempt motion                                                        4.2   $650    $2,730.00
Cooper, Emily     1/2/2025 Attend mediation                                                                       4.1   $650    $2,665.00
Cooper, Emily     1/2/2025 Reviewed expert report and drafted declaration.                                        1.9   $650    $1,235.00
Cooper, Emily     1/3/2025 Worked on motion and supporting declaration                                            4.2   $650    $2,730.00
Cooper, Emily     1/6/2025 Revised contempt pleadings for filing.                                                 4.6   $650    $2,990.00
Cooper, Emily     1/7/2025 File motion and share with parties.                                                    1.2   $650      $780.00
Cooper, Emily    1/23/2025 Prep for hearing                                                                       2.9   $650    $1,885.00
Cooper, Emily    1/24/2025 Prep (1.3), attend (2.7) and debrief after hearing (.3)                                4.3   $650    $2,795.00
Cooper, Emily    1/31/2025 Prep for oral argument for contempt                                                      2   $650    $1,300.00
Cooper, Emily     2/3/2025 Call with neutral re contempt                                                          0.8   $650      $520.00
Cooper, Emily     2/3/2025 Met with DRW re Trueblood and related contempt                                           1   $650      $650.00
Cooper, Emily     2/4/2025 Discuss reply brief (1.1) and write reply brief (3.5)                                  4.6   $650    $2,990.00
Cooper, Emily    2/12/2025 Revised reply brief                                                                    1.8   $650    $1,170.00
Cooper, Emily    2/13/2025 Internal meeting to discuss strategy                                                     1   $650      $650.00
Cooper, Emily    2/21/2025 Prepped for oral argument                                                                1   $650      $650.00
Cooper, Emily    2/25/2025 Meet internally (.8) and with expert (1.1)                                             1.9   $650    $1,235.00
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Cooper, Emily    2/26/2025 Travel and meet with fact witnesses                                                       2.4    $650    $1,560.00
Cooper, Emily    3/11/2025 Travel (2.6), attend Mink tours (4.8), and prep for hearing (2.4)                         9.8    $650    $6,370.00
Cooper, Emily    3/12/2025 Attend hearing                                                                              7    $650    $4,550.00
Cooper, Emily    3/13/2025 Attend hearing                                                                              4    $650    $2,600.00
Cooper, Emily    4/29/2025 Travel and meet with lawmakers re Mink                                                    4.5    $650    $2,925.00
Cooper, Emily    6/16/2025 Worked on contempt motion and supporting declaration                                      2.3    $650    $1,495.00
                                                                                                Cooper Subtotal:   77.90           $52,455.00

Morin, Hanah    12/20/2024 Talked to Emily about Mink filing                                                          0.5   $275     $137.50
Morin, Hanah    12/24/2024 Read updated contempt motion                                                               0.5   $275     $137.50
Morin, Hanah    12/27/2024 Worked on creating a visual representation of the legislative work                         2.5   $275     $687.50
Morin, Hanah     1/21/2025 Looked at timelines for the clients who hadn't been admitted to OSH within 7 days          0.5   $275     $137.50
Morin, Hanah     1/21/2025 Read prior filings and reports                                                               1   $275     $275.00
Morin, Hanah     1/22/2025 Meeting with Melissa, Emily C., Dave, and Tom re contempt hearing and planning               1   $275     $275.00
Morin, Hanah     1/22/2025 Reviewed data publications regarding A&A and civil commitments                             0.5   $275     $137.50
Morin, Hanah     1/23/2025 Read through contempt responses; began preparing for contempt motion hearing                 2   $275     $550.00
Morin, Hanah     1/24/2025 Status conference                                                                          2.5   $275     $687.50
Morin, Hanah     1/27/2025 Read submissions for contempt hearing                                                        1   $275     $275.00
Morin, Hanah     1/27/2025 Read through Marion County reply brief                                                     0.5   $275     $137.50
                           Reviewed outline for opening and other materials to draft opening and direct
Morin, Hanah     1/28/2025 questions                                                                                    1   $275     $275.00
Morin, Hanah     1/31/2025 Meeting with Emily to talk about opening for contempt hearing                                2   $275     $550.00
Morin, Hanah     1/31/2025 Read Mink filings                                                                            1   $275     $275.00
Morin, Hanah      2/3/2025 Call with neutral re contempt                                                              0.8   $275     $220.00
Morin, Hanah      2/3/2025 Met with DRW re Trueblood                                                                    1   $275     $275.00
Morin, Hanah      2/4/2025 Meeting with Dave, Emily, and Tom re response brief                                        1.1   $275     $302.50
                           Read amici briefs and started drafting response and prepared for meeting to plan
Morin, Hanah      2/4/2025 response.                                                                                   2    $275     $550.00
                           Reviewed documents in aid of drafting response brief; wrote and edited response
Morin, Hanah      2/6/2025 brief                                                                                       3    $275     $825.00
                           Reviewed documents in aid of drafting response brief; wrote and edited response
Morin, Hanah      2/7/2025 brief                                                                                      3.5   $275     $962.50
Morin, Hanah     2/11/2025 Edited response brief                                                                        1   $275     $275.00
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Morin, Hanah   2/13/2025 Met with Emily, Dave, and Tom re response brief and oral arguments                       1    $275    $275.00

Morin, Hanah   2/13/2025 Read cases and materials to prepare for contempt hearing; drafted some of opening       2.5   $275    $687.50
Morin, Hanah   2/19/2025 Read case law; reviewed Mink documents/filings                                          2.8   $275    $770.00
Morin, Hanah   2/24/2025 Met with jail fact witness regarding people waiting to transfer to OSH                  0.8   $275    $220.00
Morin, Hanah   2/27/2025 Reviewed Dr. Pinals' reports for contempt hearing                                       2.5   $275    $687.50
Morin, Hanah   2/28/2025 Read case law; prepared for contempt hearing                                            2.5   $275    $687.50
Morin, Hanah   2/27/2025 Worked on opening                                                                         1   $275    $275.00
Morin, Hanah   2/25/2025 Mink hearing meeting                                                                    0.8   $275    $220.00
Morin, Hanah   2/25/2025 Preparing for contempt hearing - read case law, filings                                   3   $275    $825.00
Morin, Hanah   2/24/2025 Read filings                                                                              1   $275    $275.00
Morin, Hanah   2/21/2025 Met with Emily re contempt opening                                                        1   $275    $275.00

Morin, Hanah   2/21/2025 Worked on opening and reading case law and filings to prepare for contempt hearing      3.5   $275     $962.50
Morin, Hanah   2/20/2025 Watched examples of opening arguments                                                   1.5   $275     $412.50
Morin, Hanah   2/26/2025 Prepared for contempt hearing                                                           1.6   $275     $440.00
Morin, Hanah   3/12/2025 Contempt hearing                                                                          8   $275   $2,200.00
Morin, Hanah   3/13/2025 Contempt hearing attendance                                                               4   $275   $1,100.00
Morin, Hanah   3/10/2025 Mink moot                                                                               0.5   $275     $137.50
Morin, Hanah    3/5/2025 Prepared for contempt hearing                                                           2.3   $275     $632.50
Morin, Hanah    3/7/2025 Moot for Mink contempt hearing                                                            1   $275     $275.00
Morin, Hanah    3/7/2025 Prepared for contempt hearing                                                           3.6   $275     $990.00
Morin, Hanah    3/6/2025 Prepared for contempt hearing                                                           3.9   $275   $1,072.50
Morin, Hanah    3/4/2025 Prepared for contempt hearing                                                           5.3   $275   $1,457.50
Morin, Hanah   3/10/2025 Prepared for contempt hearing                                                           4.6   $275   $1,265.00
Morin, Hanah   3/11/2025 Prepared for contempt hearing                                                           5.5   $275   $1,512.50
Morin, Hanah    3/3/2025 Prepared for contempt hearing                                                           5.5   $275   $1,512.50
Morin, Hanah   3/20/2025 Reviewed ruling on sanctions against Marion County                                      0.8   $275     $220.00
Morin, Hanah   3/20/2025 Looked at notice of supplemental authority                                              0.8   $275     $220.00
Morin, Hanah   4/15/2025 Reviewed Emily's previous motion for attorneys fees and began outlining.                1.2   $275     $330.00
Morin, Hanah   4/21/2025 Worked on motion for attorneys' fees                                                      1   $275     $275.00
Morin, Hanah   4/24/2025 Worked on motion for attorneys' fees                                                    1.2   $275     $330.00
Morin, Hanah   4/28/2025 Worked on motion for attorneys' fees                                                      1   $275     $275.00
Morin, Hanah   4/29/2025 Worked on motion for attorneys' fees and associated research                              2   $275     $550.00
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Morin, Hanah    4/30/2025 Worked on motion for attorneys' fees                                                         1   $275     $275.00
Morin, Hanah     5/1/2025 Research for attorneys' fees motion                                                        0.5   $275     $137.50
Morin, Hanah     5/6/2025 Requested transcript of the contempt hearing                                               0.5   $275     $137.50
Morin, Hanah    5/28/2025 Worked on motion for attorney fees                                                           2   $275     $550.00
Morin, Hanah    5/20/2025 Researched the local and federal rules that apply to motion for attorney fees                2   $275     $550.00
Morin, Hanah    5/21/2025 Research re motions for attorney fees                                                        1   $275     $275.00
Morin, Hanah    5/27/2025 Put together statement of facts/introduction                                                 1   $275     $275.00
                          Read through Judge Nelson's opinion and order and applied it to the motion for
Morin, Hanah     6/9/2025 attorney fees and memorandum in support.                                                     3   $275      $825.00
Morin, Hanah     6/6/2025 Reviewed Judge Nelson's decision; reviewed updated dashboard                                 1   $275      $275.00
Morin, Hanah    6/12/2025 Worked on citations in the attorney fees memorandum                                          1   $275      $275.00
                                                                                                Morin Subtotal:   118.60          $32,615.00

Stenson, Tom   11/20/2024 meet with potential expert; review expert agreement                                        0.9   $645      $580.50
Stenson, Tom   11/18/2024 attend mink hearing                                                                          3   $645    $1,935.00
Stenson, Tom   11/25/2024 review of outstanding case information regarding PSRB detainees                            1.8   $645    $1,161.00
Stenson, Tom   11/21/2024 factual research and outline of contempt issues                                            3.8   $645    $2,451.00
                          discussion of outstanding issues regarding contempt and enforcement with
Stenson, Tom   11/22/2024 stakeholder                                                                                  1   $645     $645.00
Stenson, Tom   12/12/2024 call w pinals, follow up to call w emails                                                  1.5   $645     $967.50
Stenson, Tom    12/2/2024 pull exhibits and materials re enforcement in preparation for mediation/contempt           2.9   $645    $1,870.50
Stenson, Tom    12/3/2024 review data re enforcement process                                                         2.8   $645    $1,806.00
Stenson, Tom    12/5/2024 develop proposal for settlement                                                            2.6   $645    $1,677.00
Stenson, Tom    12/6/2024 work on settlement proposal                                                                3.6   $645    $2,322.00
Stenson, Tom    12/9/2024 settlement proposal updates                                                                1.6   $645    $1,032.00
Stenson, Tom   12/11/2024 review interim agreement and state's progress (or lack of progress)                        2.5   $645    $1,612.50
Stenson, Tom   12/12/2024 emails w opp counsel, co-counsel re settlement                                             0.4   $645      $258.00
Stenson, Tom   12/16/2024 met w expert                                                                                 1   $645      $645.00
Stenson, Tom   12/16/2024 research re contempt motion                                                                2.5   $645    $1,612.50
Stenson, Tom   12/17/2024 meet w dr pinals--follow up discussion                                                     1.5   $645      $967.50
Stenson, Tom   12/20/2024 drafting motion for contempt                                                               5.2   $645    $3,354.00
Stenson, Tom   12/23/2024 work on draft motion on contempt                                                           5.8   $645    $3,741.00
Stenson, Tom     1/6/2025 review, research, make changes to motion for contempt                                      3.6   $645    $2,322.00
Stenson, Tom    1/10/2025 motion to intervene                                                                        2.8   $645    $1,806.00
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Stenson, Tom   1/10/2025 draft response to motion to intervene                                                    2.5   $645   $1,612.50
Stenson, Tom   1/13/2025 motion for sanctions                                                                       1   $645     $645.00
Stenson, Tom   1/13/2025 opp to motion to intervene                                                               2.3   $645   $1,483.50
Stenson, Tom   1/14/2025 research and finalization of motion for sanctions                                        2.5   $645   $1,612.50
Stenson, Tom   1/16/2025 research into other psychiatric hospital contempt cases                                  1.5   $645     $967.50
Stenson, Tom   1/31/2025 review state's brief                                                                       1   $645     $645.00
Stenson, Tom   1/23/2025 review state's filings for hearing, confer with cocounsel                                2.1   $645   $1,354.50
Stenson, Tom   1/23/2025 research into cfaas re mink                                                                2   $645   $1,290.00
Stenson, Tom   1/23/2025 review pleadings from amici re hearing                                                     1   $645     $645.00
Stenson, Tom   1/24/2025 prepare for, attend hearing                                                                4   $645   $2,580.00
Stenson, Tom    2/4/2025 memorandum update re marion co intv                                                      3.6   $645   $2,322.00
Stenson, Tom    2/4/2025 memorandum update re marion co intv                                                      3.6   $645   $2,322.00
Stenson, Tom    2/6/2025 marion co memorandum re intv and reply                                                   3.8   $645   $2,451.00
Stenson, Tom    2/6/2025 conferral with marion county                                                             0.8   $645     $516.00
Stenson, Tom   2/10/2025 mink fact research, document collection re reply                                         2.6   $645   $1,677.00
Stenson, Tom   2/11/2025 work on elements of reply brief re counties and funding                                  2.1   $645   $1,354.50
Stenson, Tom   2/12/2025 mink reply drafting                                                                      2.5   $645   $1,612.50
Stenson, Tom   2/14/2025 drafting reply doc                                                                       3.1   $645   $1,999.50
Stenson, Tom   2/21/2025 research re issues for contempt                                                            1   $645     $645.00
Stenson, Tom   2/25/2025 conv with hospitals counsel re proposed mtn to intervene                                 0.8   $645     $516.00
Stenson, Tom   2/26/2025 emails w hospital counsel                                                                0.8   $645     $516.00
Stenson, Tom    3/6/2025 fact research in preparation for hearing                                                   2   $645   $1,290.00
Stenson, Tom    3/7/2025 drafting reply re marion county sanctions                                                2.5   $645   $1,612.50
Stenson, Tom   3/11/2025 prepared for hearing, reviewed exhibits, prepared exhibits for record                      6   $645   $3,870.00
Stenson, Tom   3/11/2025 read briefing from amici                                                                 1.5   $645     $967.50
Stenson, Tom   3/12/2025 attended hearing                                                                           7   $645   $4,515.00
Stenson, Tom   3/12/2025 drafted closing statement                                                                  2   $645   $1,290.00
Stenson, Tom   3/12/2025 review memorandum from amici and court opinion                                             1   $645     $645.00
Stenson, Tom   3/13/2025 post hearing discussion; proposed follow up re remedies                                  2.5   $645   $1,612.50
Stenson, Tom   3/13/2025 attended hearing on contempt                                                               2   $645   $1,290.00
                         review and analyze court order; review state court proceedings; emails with DRO
Stenson, Tom   4/16/2025 team re order                                                                            1.8   $645   $1,161.00
Stenson, Tom    5/1/2025 review records and update team re robertson prosecution                                  0.3   $645     $193.50
Stenson, Tom    5/2/2025 review of OHA records and fact development                                               2.8   $645   $1,806.00
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Stenson, Tom    5/5/2025 review of oha records and fact development re statistics and consistency of narrative      2.9   $645     $1,870.50
Stenson, Tom   5/13/2025 review updated OHA data regarding bed space                                                1.5   $645       $967.50
Stenson, Tom   5/13/2025 response to county filings                                                                 2.5   $645     $1,612.50
Stenson, Tom   5/14/2025 finalizing opposition to motion                                                            0.6   $645       $387.00
                                                                                             Stenson Subtotal:    134.3           $86,623.50
                                                                                     TOTAL ATTORNEYS' FEES       384.60          $205,318.50
